Case: 24-12446 Doc: 25 Filed: 10/21/24 Page:1o0f15

UNITED STATES BANKRUPTCY COURT
WESTERN DISTRICT OF OKLAHOMA

IN RE: )

Juan Valdez )
) Case No. 24-12446
) Chapter 13
)
)

Debtor.
AMENDMENT COVER SHEET

This document:
ii Corrects the previous filed document(s).
L Replaces the previous filed document(s).
[) Supplements the previous filed document(s).

Summary of revisions:

Correct Amendment Coversheet Form

I declare under penalty of perjury that the foregoing is true and correct.

Date: 10/21/24 fsf Juan Valdez

Debtor’s Signature
Printed Name: Juan Valdez

Joint Debtor’s Signature (if applicable)
Printed Name:
L] Pro se Debtor - you must fill out address on 2nd page
i] Represented by Counsel - you must fill out address on 2nd page

Local Form 1009-1.A Rev. 09/01/2024

Case: 24-12446 Doc: 25 Filed: 10/21/24 Page: 2 of 15

Pro se Debtor Signature block Attorney Signature block

isiJeffrey E. West

Debtor(s) Address |
Attorney for Debtos
City, State, and Zip Code Attorney's Name - Bar Number
Jeffrey E. West OBA #18871

Telephone Number Address
2525 NW Expressway #5311

Fax Number City, State, and Zip Code
Oklahoma City, OK 73112
Email Address Telephone Number
405-616-4949
Fax Number
405-225-2700

Email Address
Counsel forjeff@westbklaw.com

Local Form 1009-1.A Rev. 09/01/2024

een i) Cre eR Te rls ELT oso

Debtor 7 Juan Pablo Valdez

Debtor 2
(Spouse, if filing)

United States Bankruptcy Court forthe: _Westem District of Oklahoma

Case number 24-12446
(known)

Official Form 422C-1

Rete ee at ice Be Part eae ;

According to the calculations required by this
Stafement:

[1 1. Disposable income Is not determined under
41 U.S.C. § 1325(b){3).

]¥] 2. Disposable income is determined under 11
U.S.C, § 1325(b)(3).

l¥] 3. The commitment period is 3 years.
CL] 4. Tha commitment period is 5 years.
[¥] Check if this is an amended filing

Chapter 13 Statement of Your Current Monthly Income

and Calculation of Commitment Period

10H9

Be as complete and accurate as possible. if two married people are filing together, both are equaily responsible for being accurate. If mora
space fs needed, attach a separate sheet to this form. Include the IIne number to which the additional information applies. On the top of any

additional pages, write your name and case number {if known).

Calculate Your Average Monthly Income

1. What fs your marital and fillng status? Check one only.
[CJ] Not married. Fil out Column A, lines 2-11.
Matried. Fil out both Columns A and 8, lines 2-11.

ra aerate Tmonthiyinicome inaty thatyou su ecela ene froma sourcestderiu
OAVS Ror aKa amleytlyotiare Mind. cee nbs fe eoaperedy
snonths*add.the income for alte, months fue Ine. fe the total by.6 =F Illin:

Weraees ee one:column- only

uns Heyes US US
Tea me,
sinatra oe mae: both
write ISS Bace a

2, Your gross wages, salary, tips, bonuses, overtime, and commissions (before all

Net monthly income from rental or other teal property = $ 0.00 Copy here >$

payroll deductions). $ 5,060.83 $§ 0.00
3, Alimony and maintenance payments. Do not include payments from a spouse if

Column B is filled in. $ 0.00 6§ 0.00
4. All amounts from any source which are regularly paid for household expenses

of you or your dependants, Including child support. Include regular contributions

from an unmanied partner, members of your household, your dependents, parents,

and roommates. Do not include payments from a spouse. Do not Include payments 0.00 0.00

you Tisted on line 3. 5 ls $ .
5. Netincome from operating 2 business,

profession, or farm

Gross receipts (before all deductions) $ 1,537.17

Ordinary and necessary operating expenses $ 1,306.35

Net monthly income from a business, Copy

profession, of farm $ 224. B2 hara >$ 224,62 $ 6.09
6. Net income from rental and other real property = £

Gross receipts (before all deductions)

Ordinary and necessary operating expenses $ 6.00

0.00 $ 0.00

Official Form 122C-1 Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Peried page 1

Case: 24-12446° Doc: 25 Filed: 10/21/24 Page: 4or15

Debtor? Jttan Pablo Valdez Case number (ifknown) 24-12446

7. Interest, dividends, and royalties
& Unemployment compensation

Bo not enter the amount if you contend that the amount recelved was a benefit under
the Social Security Act. Instead, list it here:

For you 5 0.00
For your spouse 3 0.00

9. Pension or retirement income, Do not include any amount received that was a
benefit under the Social Security Act. Also, except as stated in the next sentence, do
not include any compensation, pension, pay, annuity, or allowance paid by the
United States Government in connectlon with a disability, combat-related Injury or
disability, or daath of a member of the uniformed services. If you raceived any retired
pay paid under chapter 61 of title 10, than include that pay only ta the extent that It
does not exceed the amount of retirad pay to which you would athenvise be entitled
if retired under any provision of title 10 other than chapter 61 of that title. $ 0.69 6§ 0.00

16, Income from all other sources not listed above. Specify the source and amount.
Po nat include any benefits recaived under fhe Social Security Act; payments
racelved as a victim of 2 war crime, a crime against humanity, or international or
domestic terrorism; of compensation, persion, pay, annuity, or allowance pald by the
United States Government in connection with a disability, combat-related Injury or
disability, or death of a member of the uniformed services. If necessary, list other
sources on a separate page and put the total below.

$s 0.00 6 6«§ 0.06
$ 0.08 $ 0.06
Total amounts from separate pages, if any. + $ 0.0¢ $ 0.00
11. Calculate your total averege monthly Income. Add lines 2 through 10 for _
each columm. Then add the total for Column A to the total for Column B. $ 5,285.65 /7/5 0.00 [7s 5,285.65
Tota! average
monthly Incoma
een Determine How to Measure Your Deductions from Income
12. Copy your total average monthly income fram lina 11. $ 5,285.65

13. Calculate the marital adjustment. Check one:
LJ You are not married. Fillin 0 below.
CI You are manied and your spouse fs filing with you. Fill in 0 below,

[¥] You are manied and your spouse Is not fillng with you.
Fill in the amount of the income fisted in line 11, Column B, that was NOT regularly paid for the household expenses of you of your
dependents, such as payment of the spouse's tax liability or the spouse's support of someone other than you or your dependents.

Below, specify the basis for excluding this Income and the amount of income devoted to each purpose, If necessary, list additional
adjustnants on @ separate page.

If this adjustment does not apply, enter 0 below.

§
$
+5
Total $ 0.00 Copy hera=> “ 0.08
14. Your current monthly Income. Subtract line 13 from line 12. $ 5,285.65
45. Calculate your current monthly income for the year. Follow these steps:
15a. Copy lina 14 hara=> 3 5,285.85

Official Form 122C-1 Chapter 13 Statement of Your Currant Monthly Income and Caleulation of Commitment Period page 2

Debtor? Juan Pablo Valdez Case number (itknown) 24-2446
Multiply line 15a by 12 (the number of months in a year}. x 12
5b. The result fs your current monthly income for the year for this part of the font. ....6 $ 63,427.80

16, Calculate the median family Income that appltes to you. Follow these sleps:

16a. Fill in the state in which you five, OK
16b. Fill in the number of people In your household. 2
16c. Fil in the median family income for your slate and size of household. s 74,043.00

To find a list of applicable median income amounts, go onlina using the link specified fn the separate
instructions for this form. This list may also be available at the bankruptcy clerk's office.

17. How do the lines compare?
17a, [¥] Line 15b is less than or equal to line 16c. On the top of page 1 of this form, check box 1, Disposable income is not determined under
17 U.S.C. § 1325(b)(3). Go to Part 3. De NOT fill out Calculation of Your Disposable income (Official Form 122C-2),

1417p. |[] Line 15b is more than line 16c. On the top of page 1 of this form, check box 2, Disposable income is determined undar 17 U.S.C. §
4325(b)(3). Go to Part 3 and fill out Calculation of Your Disposable Incame (Official Form 422C-2). On line 39 of that form, copy
your currant monthly income from ine 74 above.

GE Calculate Your Commitmant Perlod Under 11 U.S.C. § 1325(b)(4)

18. Copy your total average monthly income from line 11 . $ §,285.65

19, Deduct the marital adjustment if it applies, If you are married, your spouse fs not fillng with you, and you
contend that calculating {he commitment period under 11 U.S.C. § 1325(b)(4) allows you to deduct part of your
spouse's Income, copy the amount fram line 13.

19a. If the marital adjustment does not apply, fill in 0 on line 192. -§ 0.00
19b. Subtract line 19a from line 43. $ 5,285,656

20. Calculate your current monthly income for the year. Follow these steps:

20a, Copy fine 18b 3 5,285.65
Multiply by 42 (the number of months in a year}. x 12

20b. The result is your current monthly income for the year for this part of the form $ 63,427.80

20c. Copy the median family Income for your state and size of household from line 16c¢ $ 71,043.00

21. How do the lines compare?

[#] Line 20b is less than line 20c. Untess otherwise ordered by the court, on the top of page 1 of this form, check box 3, The commitment
period is 3 years. Go to Part 4.

1 Line 20b is more than or equal to line 20c. Unless othenvise ordered by the caurt, on the top of page 1 of this form, check box 4, The
commitment period is § years. Go to Part 4.

ial Siqn Below
By signing here, under penalty of perjury | declare that the information on this statement and In any altachmants is true and correct.

X isf Juan Pablo Valdez

Juan Pablo Valdez
Signature of Debtor 1

Dale October 17, 2024
MMIDD f¥YYY

if you checked 17a, do NOT fil out or file Form 122C-2.
If you checked 17h, fill out Form 122C-2 and file it with this form. On line 39 of that form, copy your current monthly income from line 14 above.

Official Form 122C-1 Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period page 3

Debtort «Juan Pablo Valdez

Official Form 1220-1

Case: 24-12446—_ Doc: 25” Fiea Torz17z4_ Page: 6 Of 15

Caseramber{# known) 24-12448

Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period

page 4

aot Ta tal erties Ta) ets ses 6] merclclsm

Debtor 1 Juan Pablo Valdez

Debtor 2
(Spouse, if fillng)

United States Bankruptcy Court forthe: _Westem District of Oklahoma

Casenumber 24-42446
(if known) [¥] Check ff this is an amended fillng

Official Form 122C-2

Chapter 13 Calculation of Your Disposable Income 04122

To fill out this form, you will need your completed copy of Chapter 13 Statement of Your Current Monthly Income and Calculation of
Commitment Period (Official Farm 122-1},

Be as complete and accurate as possibie. If two married people are fillng together, both are equally responsible for being accurate. If more
space Is needed, attach a separate sheet to this fonn, Include the Ing number to which additional Information applies. On the top any
additional pages, write your name and case number (/f known).
ache ae Calculate Your Deductions from Your Income
a ee TRevenus service rl IRS) S).1ssii ae eae Vand Eo cal Standards. Grceitain expenseamounta, se Wiser eipue tome thes
aes ae ae stro eens Standard fards ce t Sane ei ink specified in'the'separe fe structions for thileton s
ayalsob ejay Clark SOc a pecan ee
: expanse! amo ines eLOuL: S15 Ke eee iyouractl altilate revolt il use-sorne;
: sete oe are Rigtier- than tie'standatdssf ae ce ieyany, praeiinaexeenee | that sitsubir sites ase
Se domotidec eee amoun Vours epee sen ducepouse.sincoma
att i ig x a3 SY ry a au i
EPR
i : im a rie ear an Reng
5, The umber of — ned! in a your deductions from income

Fill in fhe Rumber of people who could be claimed as exemptions on your federal income tax retum,

plus the number of any additional dependents whom you support. This number may be different from 2
the number of people in your household.

6. Food, clothing, and other Items: Using the number of people you entered in line & and the [RS National 4,411.00
Standards, fill in the dollar amount fer food, clothing, and other items. $ ‘

7. Out-of-pocket healtit care allowance: Using the number of people you entered In line § and the IRS National Standards, fillin
the dollar amount for out-of-pocket health care. The number of peopie Is split Into two categories—peopla who are under 65 and
people whe are 65 or older--bacause older people have a higher IRS allowance for health car costs. If your actual expenses are
higher than this IRS amount, you may deduct the additional amount on fine 22.

Official Form 122C-2 Chapter 13 Calculation of Your Disposable Income page 1

Debtor 4

Case: 24-12446 Doc: 25  Filed?10/21/24 ~ Page: 8 of 15

Juan Pablo Valdez Casa number (ifknown) —24~-12448

9.

10.

7a. Outofpacket health c cara allowance per person $ 83

To. Number of people who ara under 85 Xx 2
7c, Subtotal, Multiply line 7a by line 7b. $ 166.00 Copyher=> $ 166.00

7d. Ont-orpocket health care allowance per person $ 158

7e. Number of people who are 65 or older x 0
7f. Subtotal, Multiply line 7d by line Ze. $ 0.00 Copyher=> § 0.00
7g. Total. Add Ine 7c and line 7f § 166.00 Copy total here=>|$

166.00

Based 0 on 1 information ‘rom the IRS, the us s, Trustee Program f has 3 divided the IRS Local Somid for housing for
bankruptcy purposes into two parts:

[iv] Housing and utilities - Insurance and operating expenses
[vi Housing and utilities - Mortgage or rent expenses

To answer the questions in lines 8-9, use the U.S. Trustee Program chart. To find the chart, go online using the tink specified in the
separate Instructions for this form. This chart may also be available at the bankruptcy clerk's office.

8. Housing and utilities - Insurance and operating expenses: Using the number of people you entered in Une §, fill ;

In the doilar amount listed for your county for insuranca and operating expenses.

676.00

Housing and utilitles - Mortgage or rent expenses:

fia. Using the number of people you entered in line 5, fill In the dollar amount

listad for your county for mortgage or rent expenses. $ 1,321.00

9b. Total average monthly payment for all mortgages and other debts secured by your home.
To calculate the total average monthly payment, add all amounts that are

contractually due ta each secured creditor In the 60 months after you file

for bankruptcy. Next divide by 60.

Freedom Mortgage Corporation ) $ 4,380.00

Copy Repeat this amount

Sb. Total average monthly payment [5S 71,360.00 |heres> -5 1,360.00 on line 332,

Sc, Net mortgage or rent expense.

Subtract tine 9b (fofal average monthly payment? from Ine Sa (morfgage Copy
or vent expense). If this number is less than $0, enter $0. 3 0.00 theres 5

If you claim that the U.S. Trustee Program's division of the iRS Local Standard for housing [s incorrect and
affects the calculation of your monthly expenses, fll in any add!ticnal amount you claim.

Explain why:

0.00

0.00

Official Form 1220-2 Chapter 13 Calculation of Your Disposable Income

page 2
Debtor Juan Pablo Valdez Casanumber(fknown) 24.42446

11. Local transportation expenses: Check the nurober of vehicles for which you claim an ownership or operating expense.

J 0. Go to line 14,
4. Go to line 72,

L] 2 or more. Go to tine 12.

12. Vehicle operation expense: Using the IRS Local Standards and the number of vehicles for which you claim the
operating expenses, fill in the Operating Costs that apply for your Census region or metropolitan statistical area. $ 260.08

13. Vehicle ownership or lease expense: Using the IRS Local Standards, calculate the net ownership or lease expense for each vehicla below.
You may not claim the expense if you do not make any Joan or lease payments on the vehicle. In addition, you may not claim the expense for
more than two vehicles.

Bea Describe Vehicle 1:

tread

13a, Ownership or leasing costs using IRS Local Standard, 5 0.90

13b. Average monthly payment for all debis secured by Vehicle 1,
Do not include costs for leased vehicles.

To calculate the avarage monthly payment here and on line 13e, add all amounts that
are contractually dite to each secured creditor in the 60 months after you file for
bankruptcy. Then divide by 60.

Cory Repeat this
Total Average Monthly Payment = |$ Q.00 |hae= -$ 0.00 noe
13c, Net Vehicle 1 ownership or lease axpense ory het
Subtract fine 13b from [Ine 13a. ifihis number Is less than $0, enter 50. ,.......... seenasesen expense here
$ 0.00 jo» 5 0.08
$ 0.00
139. Average monthly payment for all debts secured by Vehicle 2. Do not include costs for
leased vehicles.
pony Repeat his
Total average monthly payment |$ > $s ooo et
13f. Net Vehicle 2 ownership or lease expense yore ret
Subtract line 13e from [Ine 13d. If this number fs fess than $0, OMtar SO, s.csssssssssaenss expense here
3 0.06 |. $ 8.00
14. Public transportation expense: If you claimed 6 vehicles In IIne 11, using the IRS Local Standards, fill In the $ 0.09
Public Transportation expense allowance regardless of whether you use public transportation. .
15. Additlonal public transportation expense: If you clalmed 1 or more vahicles in line 11 and If you claim that you may
also deduct a public transportation expense, you may fill in what yau belleva Is the appropriate expense, but you may $ 0.00
not caim more than the IRS Local Standard for Public Transportation. .
Official Form 1220-2 Chapter 13 Calculation of Your Disposable Income page 2

Debtor 4

17.

18,

18.

20,

26,

27.

Case: 24-12446 Doc: 25 Filed: 10/21/24 ~=Page: 10 of Id

Juan Pablo Valdez Casa number (#Anown) 24-12446

itionitotthie @xpanse deductions listad:abo.

tedares:

Por

Bet
Rieeerse

your pay for these taxes, However, if you expect to receive a tax refund, you must divide the expected refund by 12
and subtract that number from the total monthly amount that is withheld to pay for taxes.

Involuntary deductions: The fotal monthly payroll deductions that your job requires, such as retirement
contibutions, union dues, and uniform costs.

Do not include amounts that are not required by yotlr job, such as voluntary 401(k) contributions or payroll savings.
Life Insurance: The total monthly premlums that you pay for your own term Iife Insurance. If wo manied people are
filing together, Include payments that you make for your spouge's tanm life Insurance.

Do not include premiums for life Insurance on your dependents, for a non-filing spouse's life insurance, or for any form
of life Insurance other than term.

Court-ordered payments: The total monthly amount that you pay as required by the order of a court or
administrative agency, such as spousal or child support payments. ,

Do not include payments on past due obligations for spousal or child support. You will list these obligations In Jine 35.
Education: The total monthly amount that you pay for education that Is either required:

as a condition for your job, ar
for your physically or mentally challenged depencient child If no public education is available for sirallar services.

. Childcare: The total monthly amount that you pay for childcare, such as babysitting, daycare, nursery, and preschool,

Do not include payments for any elementary or secondary school education.

Additional health cara expenses, exciuding Insurance costs: The monthly amount that you pay for health care
that is required for the health and welfare of you or your dependants and that is not reimbursed by insurance or pald
by a health savings account. Include only the amount that is more than the total entered In line 7.

Payments for health Insurance or health savings accounts should be Usted only in line 25,

Optional telephone and telephone services: The total monthly amount that you pay for telecommunication services
for you and your dependents, such as pagers, call walting, caller Identification, spacial feng distance, or business cell
phone service, to tha extent necessary for your health and welfare or that of your dependents or for the production of
inconte, ifit is not reimbursed by your employer.

Do not include payments for basic home telephone, Intemet and cell phone servica. Ba not Include salFemployment
expenses, such as those reported on line 5 of Official Ferm 122C-1, or any ammount you previously deducted,

. Add all of the expenses allowed under the IRS expense allowances.

Add Hines 6 through 23.
evar RTT

your dependents.

Health insurance $ 350.31
Disability insurance § 0.00°
Health savings account +S 0.00
Total $ 350.31 | Copy total here=>

$ 540.62
$ 0.00

0.00
$ 500.00
S 0.06
$ 0.00

3 0.00
+5 0.00
3s 3,553.02

$ 350.31

Do you actually spend this total amount?

F] No. How much do you actually spend?
Yes

Continuing contributions fo the care of household or family members. The actual monthly expenses that you will
continue to pay for the reasonable and necessary care and support of an elderly, chronically ill, or disabled mamber of

your household or member of your immediate family who is unable to pay for such expenses, These expenses may
include contributlons to an account of 2 qualified ABLE program. 26 U.S.C. § 529A(b}

Protection against family violence. The reasonably necessary monthly expenses that you incur to maintain the
safety of you and your family under the Family Violence Prevention and Services Act or other federal jaws that apply.

By avy, the court must keep the nature of these expenses confidential,

Official Form 1220-2 Chapter 13 Calculation af Your Disposable Income

page 4

———_—_—_—_——__——— Ease 24-12446—\Boc: 25 Filed: 10/24/24 Page: 11o0f15

Debtor? Juan Pablo Valdez Case number (ifknawn) 24-12445

28. Additional home energy costs. Your home energy costs are included in your insurance and operating expenses on
line 8.

If you believe that you have home energy costs that are more than the home anergy costs included In expenses on jine
8, then fill in the excess amaunt of home energy costs

You must give your case trustee documentation of your actual expenses, and you must show that the additional
amount claimed is reasonable and necessary.

29. Education expenses for dependant children who are younger than 718, The monthly expenses (not more than
$189.58" per child) that you pay for your dependent children who are younger than 18 years old to attend a private or
public elementary or secondary school.

You must give your case trustee documentation of your actual expenses, and you must explain why the amount
clatmed fs reasonable and necessary and not already accounted for fn fines 6-23.

* Subject fo adjustment on 4/01/25, and every 3 years after that for cases begun cn or after the date of adjustment.

30, Additional food and clothing expense, The monthly amount by which your actual food and clothing expenses are
higher than the combined food and clothing allowancas in the IRS National Standards. That amount cannot be more
than 5% ofthe food and clothing allowances in the IRS National Standards.

To find a chart showing the maximum additional allowance, gc online using the link specified in the separate
lnstructions for this form. This chart may also be available at the bankruptcy clerk's office.

You must show that the additional amount claimed is reasonable and necessary.

31. Continuing charitable contributions. The amount that you will continue to contribute in the form of cash or financial
Instruraents to a religious or charitable organization. 11 U.S.0. § §48(d){3) and (4).

Do not include any amount more than 15% of your gross monthly Income.

0.00

0.00

32. Add all of the additionat expense deductions. $s

Add lines 25 » hough 31.

33, For debts that are secured ty an interest in property that you own, 1 Including home mortgages, vehicle
loans, and other secured debt, fill in lines 33a through 332.

To calculate the total average monthly payment, add all amounts that are contractually due to each secured
creditor in the 60 months after you file for bankruptcy. Then divide by 60,

Morigages on your home
33a. Copy tine 9b here = $1,360.00
Loans on your first two vehicles
33b. Copy line 13b here => 6 0.00
33c. Copy lina 13e here => § 0.00
33d. st other secured febis:
$
$
5
total
33e Total average monthly payment, Add lines 33a through 33d $ 1,360.00 |herea> |S 1,360.00
Official Fonn 1220-2 Chapter 13 Calculation of Your Disposable Incoma page &

“Case: 24-12446 Doc: 25 Filed: 10/21/24 Page: 12 of 15

Dettori _Juan Pablo Valdez Case number (itimown) = 24-12445

34, Are any debts that you listed In line 33 secured by your primary residence, a vahicle,
or other property necessary for your support or the support of your dependents?

No. Gotoline 35,

Total | § 0.00 Iieme> $ 0.00

35, Do you owe any priority claims - such as a priority tax, child support, or allmony - that
are past due as of the filing date of your bankruptcy case? 11 U.S.C. § 507.

LI No. Gotoline 36,
lv] Yes. Fill in the total amount of all of these priority claims. Do not include cuvrent ar
ongoing priority claims, such as those you listed in line 19.

Total amount of all past-due prierily claims $ 4,800.00 +60 §$ 60.00
38, Projected monthly Chapter 13 plan payment $ 650.00

Current multiplier for your district as stated on the list Issued by tha Administrative
Office of the United States Courts (for districts in Alabama and North Carolina) or by
the Executive Office for United States Trustees (for all other districts), x 8.08
Te find a list of district muttipiiers that includes your district, go onllna using the link specified in the
separate instructions for this farm. This list may also be available at the hankrupley clerk's office,

Copy total
Average monthly administrative expense 5 52.00 Iher=> $ $2.06

37. Add all of the daductions for debt payment. Add Ines 33a through 36. 3 1,492.00
38. Add all of the allowed deductions.
Copy Ine 24, Ail of the expenses aliowed under IRS

expense allowances $ 3,653.02

Copy line 32, Allof the ecditionalexpense deductions 5 350.31

Copy line 37, Al of tte deductions for dabt payment _ +5 1,492.00

Total deductions $ 8,395.33 | copy total here=> $ 5,285.33

Official Form 1220-2 Chapter 13 Calculation of Your Disposable Income page 6

Debit Juan Pablo Valdez Casa number (ifknown)  24~42446

Determine Your Disposable Income Under 11 U.S.C. § 1326(b)(2}

38. Copy your total current monthly Income from fine 14 of Form 122C-1, Chapter 13
Sfatement of Your Current Monthly income and Cafeulation of Commitment Period.

5,285.65

40, FHI in any reasonably necessary income you recalve for support for dependent
children. The monthly average of any child support payments, foster care payments, or
disability payments for a dependent child, reported in Part | of Form 122C-1, that you
received in accordance with applicable nonbankruptey law to the extent reasonably
necessary to be expended for such child.

41, Fill In all qualified retirement deductions. The monthly total of all amounts that your
employer withheld from wages as contributions for qualified retirement plans, as spacified
in 11 U.S.C, § 541(b)(7) plus all required repayments of loans from relirement plans, as
specified in 11 U.S.C. § 382(b)(19).

42. Tota] of all deductions allowed under 11 U.S.C. § 707(b){2){A). Copy line 33 here a §

43. Deduction for special circumstances. If special clreumstances justify additional
expenses and you have no reasonable alternative, describe the special circumstances and
thelr expenses. You must give your case trustee a detalled explanation of the special
citcumstances and documentation for the expenses,

BRT SSOU TT a cP I OR TPIT ENT aT reer

Copy

0.00

0.00
6,395.33

Total | $ 0.00 | here=> $ 0.06

44, Total adjustments. Add Ines 40 through 43. => 15

6,385.33 | here> «5

45. Calculate your monthly disposable income tmnder § 1325(b}(2). Subtract line 44 from Ine 39.

tue Change In income or Expenses

5,395,33

~103.68

ie

DOC

46, Change in income or expenses. If the Income in Form 122C-1 or the expenses you reported Jn this farm
have changed or are virtually certain to change after the date you filed your bankruptcy petition and during the
time your case will be open, fill in the information below. For example, if the wages reported increased after
you filed your petition, check 122C-1 in the first column, anter line 2 In the second column, explain why the
wages Increased, fill in when the increase occurred, and fill In the amount of the increase.

Official Form 122C-2 Chapter 13 Calculation of Your Disposable Income

page 7

~~" “Case: 24-12446 Doc: 25 Filed: 10/21/24 Page: 14 of 15

Debor1 Juan Pablo Valdez Cassnumbar (ifkanm) 24-12446

a Sign Below

By signing here, under penalty of perjury you declare that the Information on this statement and in any attachments Is true and correct.

X és? Juan Pablo Valdez

Juan Pablo Valdez
Signature of Debtor 1

Dale October 17, 2024
MM/DD /Y¥¥¥¥

Official Form 722C-2 Chapter 13 Calculation of Your Disposable Income page 8

= Case-24-12446 _Doc--25__ Filed: 10/27/24 Page: 15 of 15 |
Debtor? Juan Pablo Valdez Case number (finown) 24-12446
Current Monthly Income Details for the Debtor
Debtor Income Details:

Income for the Period 02/01/2024 to 07/31/2024.

Line 2 - Gross wages, salary, tips, bonuses, overtime, commissions
Source of Income; Northpointe Inc

Income by Month:
6 Months Ago: 02/2024 $6,620.00
5 Months Ago: 03/2024 $5,220.00
4 Months Ago: 04/2024 $5,055.00
3 Months Ago: 05/2024 $4,455.00
2 Months Ago: 06/2024 $3,780.08
Last Month: 07/2024 $5,235.00

Average per month: $5,060.83

Line § - Income from operation of a business, profession, or farm
Source of Income: Lawn Service |

Income/Expense/Net by Month: }
Date Income Expense Net
6 Months Ago: 02/2024 $1,256.00 $1,201.06 $48.94
5 Months Ago: 03/2024 $1,400.00 $1,224.49 $175.51
4 Months Ago: 04/2024 $7,500.00 $1,261.06 $238.94
3 Months Ago: 05/2024 $1,720.00 $1,422.04 $297.95
2 Months Ago: 06/2024 $2,052.00 $1,508.25 $543.75
Last Month: 07/2024 $1,265.06 $1,221.17 $43.83
Average per month: $1,531.17 $1,306.35

Average Monthly NET Income: $224.82 |

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